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 JS:KMT/NMA
 F. #2020R00304
                                                    File Date: January 11, 2023
 UNITED STATES DISTRICT COURT                       Case Number: 20-cr-323 (S-4) (AMD)
 EASTERN DISTRICT OF NEW YORK
 ---------------------------X                       Judge Ann M Donnelly
 UNITED STATES OF AMERICA                            SUPERSEDING
                                                     IN D I C T M E N T
        - against -
                                                     Cr. No. 20-323 (S-4} (AMD}
 DARRIUS SUTTON,                                     (T. 18, U.S.C., §§ 922(g)(l),
    also known as "Darius Sutton"                     924(a)(2), 924(c)(l)(A)(i),
    and "Blizz Meecho,"                               924(c )(1 )(A)(ii), 924(c )(1 )(A)(iii),
 TRAVA SELBY,                                         924(d)(l), 982(a)(2), 982(a)(2)(B),
    also known as "Stoney,"                           982(b)(l), 1028(a)(7), 1028(b)(2)(B),
 ANDREW SIMPSON,                                      1028(c)(3)(A), 1028A(a)(l),
    also known as "Drew" and                          1028A(b), 1028A(c)(4), 1028A(c)(5),
    "Drewski,"                                        1029(a)(l ), 1029(a)(2), 1029(a)(5),
 TYSHAWN SUMPTER,                                     1029(b)(1), 1029(c)(1)(A)(i),
    also known as "GT" and                            1029(c)(1)(A)(ii), 1029(c)(1)(C),
    "Bamalife GT," and                                1029(c)(2), 1349, 1959(a)(3),
 COREY WILLIAMS,                                      1959(a)(5), 1959(a)(6), 1962(d),
    also known as "Moncier                            1963, 1963(a), 1963(m), 2 and 3551
    Mellz," "Moncier" and "Mellz,"                    et�.; T. 21, U.S.C., §§ 841(a)(l),
                                                      84l(b)(l)(C), 84l(b)(l)(D), 846,
                        Defendants.                   853(a) and 853(p); T. 28, U.S.C.,
                                                      § 2461(c))
 ---------------------------X

 THE GRAND JURY CHARGES:

                            INTRODUCTION TO ALL COUNTS

               At all times relevant to this Superseding Indictment, unless otherwise
 indicated:

                                        The Entemrise

               1.     The Bamalife gang (hereinafter, "Bamalife" or the "Enterprise") was a

 gang comprised primarily of individuals residing in and around the EastNew York

 neighborhood of Brooklyn, New York, which included members of the Bloods street gang.
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 Bamalife was, at times, also referred to as the "Cocky Bama Bullies" or "CBB." Members

 and associates ofthe Enterprise have engaged in fraud, narcotics trafficking and acts of

 violence, including acts involving murder and assault.

                2.     Bamalife, including its leaders, members and associates, constituted an

 "enterprise" as defined in Title 18, United States Code, Sections 1961(4)and 1959(b)(2), that

 is, a group ofindividuals associated in fact that engaged in, and the activities of which
 affected, interstate and foreign commerce. The Enterprise constituted an ongoing

 organization whose members functioned as a continuing unit for a common purpose of

 achieving the objectives ofthe Enterprise.

                3.     Bamalife, through its members and associates, engaged in racketeering

 activity as defined in Title 18, United States Code, Sections 1959(b)(1) and 1961(1), namely,

 acts involving murder chargeable under the New York Penal Law and punishable by

 imprisonment for more than one year; offenses involving the felonious manufacture,

 importation, receiving, concealment, buying, selling and otherwise dealing in controlled

 substances, in violation of Title 21, United States Code, Sections 841 and 846; and acts

 indictable under Title 18, United States Code, Section 1028 (relating to fraud and related

 activity in connection with identification documents). Section 1029(relating to fraud and

 related activity in connection with access devices) and Section 1344 (relating to financial

 institution fraud).

                                   Purposes of the Enterprise

                4.     The purposes ofthe Enterprise included the following:

                       (a)     promoting and enhancing the prestige, reputation and position of

 the Enterprise with respect to rival criminal organizations;
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                       (b)     preserving and protecting the power and territory ofthe

 Enterprise through the use ofintimidation, threats of violence and acts of violence, including

 murder and assault;

                       (c)     keeping victims and rivals in fear ofthe Enterprise and its

 members and associates; and

                       (d)     enriching the members and associates ofthe Enterprise through

 criminal activity, including fraud, identity theft and drug trafficking.

                              Means and Methods ofthe Enterprise

                5.     Among the means and methods by which members of the Enterprise

 and their associates conducted and participated in the conduct ofthe affairs ofthe Enterprise

 were the following:

                       (a)     members ofthe Enterprise and their associates used, attempted

 to use and conspired to use fraud, identity theft and drug trafficking as means of obtaining

 money;


                       (b)     members ofthe Enterprise and their associates committed,

 attempted to commit,threatened to commit and conspired to commit acts of violence,

 including acts involving murder and assault, to enhance the Enterprise's prestige and to

 protect the Enterprise's territory; and

                       (c)     members ofthe Enterprise and their associates used and

 threatened to use physical violence against various individuals, including members ofrival

 criminal organizations.
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                                         The Defendants


               6.      The defendants DARRIUS SUTTON,also known as "Darius Sutton"

 and "Blizz Meecho," TRAVA SELBY,also known as "Stoney," ANDREW SIMPSON,also

 known as "Drew" and "Drewski," TYSHAWN SUMPTER,also known as"GT" and

 "Bamalife GT," and COREY WILLIAMS,also known as "Moncler Mellz,""Moncler" and

 "Mellz," were members and associates ofthe Enterprise.

                                          COUNT ONE
                                   (Racketeering Conspiracy)

                7.     The allegations contained in paragraphs one through six are realleged

 and incorporated as if fully set forth in this paragraph.

                8.     In or about and between 2014 and the present, both dates being

 approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendants DARRIUS SUTTON,also known as "Darius Sutton" and "Blizz Meecho,"

 TRAVA SELBY,also known as "Stoney," ANDREW SIMPSON,also known as "Drew"

 and "Drewski," TYSHAWN SUMPTER,also known as"GT" and "Bamalife GT," and

 COREY WILLIAMS,also known as "Moncler Mellz,""Moncler" and "Mellz," together

 with others, being persons employed by and associated with Bamalife, an enterprise that

 engaged in, and the activities of which affected, interstate and foreign commerce, did

 knowingly and intentionally conspire to violate Title 18, United States Code, Section

 1962(c), that is, to conduct and participate, directly and indirectly, in the conduct ofthe

 affairs of that enterprise through a pattern of racketeering activity, as defined in Title 18,

 United States Code, Sections 1961(1) and 1961(5).
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               9.      The pattern of racketeering activity through which the defendants

 DARRIUS SUTTON,TRAVA SELBY,ANDREW SIMPSON,TYSHAWN SUMPTER

 and COREY WILIAMS,together with others, agreed to conduct and participate, directly and

 indirectly, in the conduct ofthe affairs of the Enterprise consisted of:(a) multiple acts

 indictable under (i) Title 18, United States Code, Section 1028(fraud and related activity in

 connection with identification documents),(ii) Title 18, United States Code, Section 1029

(fraud and related activity in connection with access devices), and (iii) Title 18, United States

 Code, Section 1344(bank fraud);(b) multiple acts involving murder,in violation of New

 York State Penal Law Sections 125.25, 110.00, 105.15 and 20.00; and (c) multiple offenses

 involving dealing in controlled substances, in violation of Title 21, United States Code,

 Sections 841 and 846. It was a part ofthe conspiracy that each defendant agreed that a

 conspirator would commit at least two acts ofracketeering activity in the conduct ofthe

 affairs ofthe Enterprise.

               (Title 18, United States Code, Sections 1962(d), 1963 and 3551 ^^.)

                                          COUNT TWO
                        (Conspiracy to Murder Members of Weez Gang)

                10.    The allegations contained in paragraphs one through six are realleged

 and incorporated as if fully set forth in this paragraph.

                11.    In or about and between 2014 and the present, both dates being

 approximate and inclusive, within the Eastern District ofNew York and elsewhere,the
 defendants DARRIUS SUTTON,also known as "Darius Sutton" and "Blizz Meecho,"

 ANDREW SIMPSON,also known as "Drew" and "Drewski," TYSHAWN SUMPTER,also

 known as"GT and "Bamalife GT," and COREY WILLIAMS,also know as "Moncler
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 Mellz,""Moncler" and "Mellz," together with others, for the purpose of maintaining and

 increasing position in Bamalife, an enterprise engaged in racketeering activity, did

 knowingly and intentionally conspire to murder one or more individuals, to wit: members

 and associates ofthe Weez Gang in Brooklyn, New York,in violation ofNew York Penal

 Law Sections 125.25(1) and 105.15.

               (Title 18, United States Code, Sections 1959(a)(5) and 3551 ^^.)

                                        COUNT THREE
                              (Conspiracy to Murder John Doe 1)

                12.    The allegations contained in paragraphs one through six are realleged

 and incorporated herein as if fully set forth in this paragraph.

                13.    In or about and between 2016 and the present, both dates being

 approximate and inclusive, within the Eastern District of New York and elsewhere,the

 defendants DARRIUS SUTTON,also known as "Darius Sutton" and "Blizz Meecho,"

 TRAVA SELBY,also known as "Stoney," ANDREW SIMPSON,also known as "Drew"

 and "Drewski," and COREY WILLIAMS,also known as "Moncler Mellz,""Moncler" and

 "Mellz," together with others, for the purpose of maintaining and increasing position in

 Bamalife, an enterprise engaged in racketeering activity, did knowingly and intentionally

 conspire to murder John Doe 1, an individual whose identity is known to the Grand Jury, in
 violation of New York Penal Law Sections 125.25(1) and 105.15.

               (Title 18, United States Code, Sections 1959(a)(5) and 3551 ^^.)
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                                         COUNT FOUR
                (Conspiracy to Assault John Doe 1 with a Dangerous Weapon)

                14.    The allegations contained in paragraphs one through six are realleged

 and incorporated herein as if fully set forth in this paragraph.

                15.    In or about and between 2016 and the present, both dates being

 approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendants DARRIUS SUTTON,also known as "Darius Sutton" and "Blizz Meecho,"

 TRAVA SELBY,also known as "Stoney," ANDREW SIMPSON,also known as "Drew"

 and "Drewski," and COREY WILLIAMS,also known as "Moncler Mellz,""Moncler" and

 "Mellz," together with others, for the purpose of maintaining and increasing position in

 Bamalife, an enterprise engaged in racketeering activity, did knowingly and intentionally

 conspire to assault John Doe 1 with a dangerous weapon,in violation of New York Penal law

 Sections 120.05(2) and 105.05(1).

               (Title 18, United States Code, Sections 1959(a)(6) and 3551 M s^O

                                          COUNT FIVE
                       (Conspiracy to Distribute Controlled Substances)

                16.    In or about and between 2019 and January 2021, both dates being

 approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendant COREY WILLIAMS,also known as "Moncler Mellz,""Moncler" and "Mellz,"

 together with others, did knowingly and intentionally conspire to distribute and possess with

 intent to distribute one or more controlled substances, which offense involved (a)a substance

 containing oxycodone, a Schedule II controlled substance, and(b)a substance containing
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 marijuana, a Schedule I controlled substance,for remuneration, contrary to Title 21, United

 States Code, Section 841(a)(1).

               (Title 21, United States Code, Sections 846,841(b)(1)(C) and 841(b)(1)(D);

 Title 18, United States Code, Section 3551 et seq.")

                                         COUNT SIX
                       (Possession with Intent to Distribute Oxycodone)

               17.    In or about and between 2019 and August 11, 2021, within the Eastern

 District of New York and elsewhere,the defendant COREY WILLIAMS,also known as

 "Moncler Mellz,""Moncler" and "Mellz," together with others, did knowingly and

 intentionally possess with intent to distribute a controlled substance, which offense involved

 a substance containing oxycodone, a Schedule II controlled substance.

               (Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C); Title 18,

 United States Code, Sections 2 and 3551 ^ seq.)

                                        COUNT SEVEN
               (Use of a Firearm in Connection with Drug Trafficking Crimes)

                18.    In or about and between 2019 and August 11,2021, both dates being

 approximate and inclusive, within the Eastern District of New York and elsewhere,the
 defendant COREY WILLIAMS,also known as "Moncler Mellz,""Moncler" and "Mellz,"

 together with others, did knowingly and intentionally use and carry one or more firearms

 during and in relation to one or more drug trafficking crimes, to wit: the crimes charged in
 Counts Five and Six, and did knowingly and intentionally possess such fnearms in

 furtherance of said drug trafficking crimes.

               (Title 18, United States Code, Sections 924(c)(l)(A)(i), 2 and 3551
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                                       COUNT EIGHT
                                  (Bank Fraud Conspiracy)

               19.    The defendant COREY WILLIAMS,also known as "Moncler Mellz,"

 "Moncler" and "Mellz," together with others, participated in bank fraud through the use of

 fraudulent checks. The checks appeared to be issued by legitimate businesses, when in fact

 they were created by WILLIAMS and others. WILLIAMS and others deposited the

 fraudulent checks into bank accounts, and thereafter WILLIAMS and others withdrew funds

 from those bank accounts.


               20.    On or about and between May I, 2019 and May 3, 2019, both dates

 being approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendant WILLIAMS,together with others, did knowingly and intentionally conspire to

 execute a scheme and artifice to defraud one or more financial institutions, to wit: TD Bank,

 N.A., and Valley National Bancorp,the deposits of which were insured by the Federal

 Deposit Insurance Corporation, and to obtain moneys, fimds,credits, assets and other

 property owned by and under the custody and control ofsuch financial institutions by means

 of one or more materially false and fraudulent pretenses, representations and promises,

 contrary to Title 18, United States Code, Section 1344.

               (Title 18, United States Code, Sections 1349 and 3551 et seq.l

                                        COUNT NINE
                                 (Aggravated Identity Theft)

               21.    On or about and between May 1,2019 and May 3,2019, both dates

 being approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendant COREY WILLIAMS,also known as "Moncler Mellz,""Moncler" and "Mellz,"
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 together with others, during and in relation to the offense charged in Count Eight, did

 knowingly and intentionally transfer, possess and use, without lawful authority, one or more

 means of identification of Jane Doe 1, an individual whose identity is known to the Grand

 Jury, knowing that the means of identification belonged to another person.

               (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(5),

 2 and 3551 et seq.^

                                          COUNTTEN
                                   (Bank Fraud Conspiracy)

                22.    The allegations contained in paragraph 19 are realleged and

 incorporated as iffully set forth in this paragraph.

                23.    On or about and between June 6, 2019 and June 14, 2019, both dates

 being approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendant COREY WILLIAMS,also known as "Moncler Mellz,""Moncler" and "Mellz,"

 together with others, did knowingly and intentionally conspire to execute a scheme and

 artifice to dejfraud one or more financial institutions, to wit: HSBC Bank USA,N.A.,

 Signature Bank and Teachers Federal Credit Union,the deposits of which were insured by

 the Federal Deposit Insurance Corporation, and to obtain moneys,funds, credits, assets and

 other property owned by and under the custody and control ofsuch financial institutions by

  means of one or more materially false and fraudulent pretenses, representations and

  promises, contrary to Title 18, United States Code, Section 1344.

                (Title 18, United States Code, Sections 1349 and 3551
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                                        COUNT ELEVEN
                                   (Aggravated Identity Theft)

                24.     In or about June 2019, within the Eastern District of New York and

 elsewhere,the defendant COREY WILLIAMS,also known as "Moncler Mellz,""Moncler"

 and "Mellz," together with others, during and in relation to the offense charged in Count Ten,

  did knowingly and intentionally transfer, possess and use, without lawful authority, one or

  more means of identification of Jane Doe 2, an individual whose identity is known to the

  Grand Jury, knowing that the means of identification belonged to another person.

                (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(5),

 2 and 3551 et seq.)

                                        COUNT TWELVE
                                    (Bank Fraud Conspiracy)

                25.     The allegations contained in paragraph 19 are realleged and

  incorporated as iffully set forth in this paragraph.

                26.     On or about and between June 11, 2019 and June 14, 2019, both dates

  being approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendant COREY WILLIAMS,also known as "Moncler Mellz,""Moncler" and "Mellz,"

  together with others, did knowingly and intentionally conspire to execute a scheme and

  artifice to defraud one or more financial institutions, to wit: Capital One Bank, N.A. and

  Sterling National Bank,the deposits of which were insured by the Federal Deposit Insurance

  Corporation, and to obtain moneys,funds, credits, assets and other property owned by and

  under the custody and control ofsuch financial institutions by means of one or more
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 materially false and fraudulent pretenses, representations and promises, contrary to Title 18,

 United States Code, Section 1344.

               (Title 18, United States Code, Sections 1349 and 3551

                                      COUNT THIRTEEN
                               (Attempted Murder of John Doe 2)

                27.    The allegations contained in paragraphs one through six are realleged

 and incorporated as if fully set forth in this paragraph.

                28.    On or about August 11,2019, within the Eastern District ofNew York

 and elsewhere, the defendant DARRIUS SUTTON,also known as "Darius Sutton" and

 "Blizz Meecho," together with others,for the purpose of maintaining and increasing position

 in Bamalife, an enterprise engaged in racketeering activity, did knowingly and intentionally

 attempt to murder John Doe 2, an individual whose identity is known to the Grand Jury, in

  violation of New York Penal Law Sections 125.25(1), 110.00 and 20.00.

                (Title 18, United States Code, Sections 1959(a)(5),2 and 3551 M

                                      COUNT FOURTEEN
                      (Assault of John Doe 2 With a Dangerous Weapon)

                29.    The allegations contained in paragraphs one through six are realleged

 and incorporated as if fully set forth in this paragraph.

                30.    On or about August 11, 2019, within the Eastern District of New York

  and elsewhere, the defendant DARRIUS SUTTON,also known as "Darius Sutton" and

 "Blizz Meecho," together with others,for the purpose of maintaining and increasing position

  in Bamalife, an enterprise engaged in racketeering activity, did knowingly and intentionally
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 assault John Doe 2 with a dangerous weapon,in violation of New York Penal Law Sections

  120.05(2) and 20.00.

                (Title 18, United States Code, Sections 1959(a)(3),2 and 3551 ^^.)

                                       COUNT FIFTEEN
       (Possessing, Brandishing and Discharging a Firearm During Crimes of Violence)

                31.      On or about August 11,2019, within the Eastern District of New York

  and elsewhere, the defendant DARRIUS SUTTON,also known as "Darius Sutton" and

 "Blizz Meecho," together with others, did knowingly and intentionally use and carry a

 firearm during and in relation to one or more crimes of violence, to wit: the crimes charged

  in Counts Thirteen and Fourteen, and did knowingly and intentionally possess such firearm

  in furtherance of said crimes of violence, which firearm was brandished and discharged.

                (Title 18, United States Code, Sections 924(c)(l)(A)(i), 924(c)(l)(A)(ii),

  924(c)(l)(A)(iii), 2 and 3551 et seq.)

                                       COUNT SIXTEEN
                              (Felon in Possession of Ammunition)

                32.      On or about August 11,2019, within the Eastern District ofNew York

  and elsewhere, the defendant DARRIUS SUTTON,also known as "Darius Sutton" and

 "Blizz Meecho," knowing that he had previously been convicted in a court of one or more

  crimes punishable by a term of imprisonment exceeding one year, did knowingly and

  intentionally possess in and affecting commerce ammunition,to wit:.380 caliber Remington-

  Peters ammunition and .380 caliber Prvi Partizan ammunition.

                (Title 18, United States Code, Sections 922(g)(1), 924(a)(2) and 3551 M^.)
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                                      COUNT SEVENTEEN
                              (Felon in Possession of Ammunition)

                 33.    On or about April 20, 2020, within the Eastern District of New York

 and elsewhere, the defendant DARRIUS SUTTON,also known as "Darius Sutton" and

 "Blizz Meecho," knowing that he had previously been convicted in a court of one or more

 crimes punishable by a term of imprisonment exceeding one year, did knowingly and

 intentionally possess in and affecting commerce ammunition,to wit: 9mm Luger caliber

 Federal Cartridge ammunition and .380 auto caliber Winchester ammunition.

                (Title 18, United States Code, Sections 922(g)(1), 924(a)(2) and 3551 ^s^.)

                                       COUNT EIGHTEEN
                                (Attempted Murder of John Doe 3)

                 34.    The allegations contained in paragraphs one through six are realleged

  and incorporated as if fully set forth in this paragraph.

                 35.    On or about May 16, 2020, within the Eastern District of New York

  and elsewhere, the defendants DARRJUS SUTTON,also known as "Darius Sutton" and

 "Blizz Meecho," and TYSHAWN SUMPTER,also known as"GT" and "Bamalife GT,"

 together with others, for the purpose of maintaining and increasing position in Bamalife, an

  enterprise engaged in racketeering activity, did knowingly and intentionally attempt to

  murder John Doe 3, an individual whose identity is known to the Grand Jury, in violation of

  New York Penal Law Sections 125.25(1), 110.00 and 20.00.

                (Title 18, United States Code, Sections 1959(a)(5), 2 and 3551 ^^.)
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                                      COUNT NINETEEN
                      (Assault of John Doe 3 With a Dangerous Weapon)

                36.    The allegations contained in paragraphs one through six are realleged

 and incorporated as if fully set forth in this paragraph.

                37.    On or about May 16,2020, within the Eastern District of New York

 and elsewhere, the defendants DARRIUS SUTTON,also known as "Darius Sutton" and

 "Blizz Meecho," and TYSHAWN SUMPTER,also known as"GT" and "Bamalife GT,"

 together with others, for the purpose of maintaining and increasing position in Bamalife, an
 enterprise engaged in racketeering activity, did knowingly and intentionally assault John Doe
 3 with a dangerous weapon, in violation ofNew York Penal Law Sections 120.05(2) and

 20.00.


                (Title 18, United States Code, Sections 1959(a)(3),2 and 3551 ^s^.)
                                       COUNT TWENTY
       (Possessing, Brandishing and Discharging a Firearm During Crimes of Violence)

                38.    On or about May 16, 2020, within the Eastern District of New York

  and elsewhere, the defendants DARRIUS SUTTON,also known as "Darius Sutton" and

 "Blizz Meecho," and TYSHAWN SUMPTER,also known as"GT" and "Bamalife GT,"

  together with others, did knowingly and intentionally use and carry a firearm during and in
  relation to one or more crimes of violence, to wit: the crimes charged in Counts Eighteen and

  Nineteen, and did knowingly and intentionally possess such firearm in furtherance of said

  crimes of violence, which firearm was brandished and discharged.

                (Title 18, United States Code, Sections 924(c)(l)(A)(i), 924(c)(l)(A)(ii),

  924(c)(l)(A)(iii), 2 and 3551 et seq.)
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                                    COUNT TWENTY-ONE
                             (Felon in Possession of Ammunition)

                39.    On or about May 16, 2020, within the Eastern District ofNew York

 and elsewhere, the defendant DARRIUS SUTTON,also known as "Darius Sutton" and

 "Blizz Meecho," knowing that he had previously been convicted in a court of one or more

 crimes punishable by a term of imprisonment exceeding one year, did knowingly and

 intentionally possess in and affecting commerce ammunition,to wit: 9mm Luger caliber

 PMC ammunition.

                (Title 18, United States Code, Sections 922(g)(1), 924(a)(2) and 3551 ^^.)

                                    COUNT TWENTY-TWO
                               (Attempted Murder of John Doe 4)

                40.    The allegations contained in paragraphs one through six are realleged

 and incorporated as if fully set forth in this paragraph.

                41.    On or about July 14, 2020, within the Eastern District of New York and

 elsewhere,the defendants DARRIUS SUTTON,also known as "Darius Sutton" and "Blizz

  Meecho," and TYSHAWN SUMPTER,also known as"GT" and "Bamalife GT," together

  with others, for the purpose of maintaining and increasing position in Bamalife, an enterprise

  engaged in racketeering activity, did knowingly and intentionally attempt to murder John

  Doe 4, an individual whose identity is known to the Grand Jury, in violation of New York

  Penal Law Sections 125.25(1), 110.00 and 20.00.

                (Title 18, United States Code, Sections 1959(a)(5),2 and 3551 ^^.)
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                                   COUNT TWENTY-THREE
                      (Assault of John Doe 4 With a Dangerous Weapon)

                42.    The allegations contained in paragraphs one through six are realleged

 and incorporated as if fully set forth in this paragraph.

                43.    On or about July 14, 2020, within the Eastern District ofNew York and

 elsewhere, the defendants DARRJUS SUTTON,also known as "Darius Sutton" and "Blizz

 Meecho," and TYSHAWN SUMPTER,also known as"GT" and "Bamalife GT," together

 with others, for the purpose of maintaining and increasing position in Bamalife, an enterprise

 engaged in racketeering activity, did knowingly and intentionally assault John Doe 4 with a

 dangerous weapon,in violation of New York Penal Law Sections 120.05(2) and 20.00.

               (Title 18, United States Code, Sections 1959(a)(3), 2 and 3551 ^^.)

                                   COUNT TWENTY-FOUR
       (Possessing, Brandishing and Discharging a Firearm During Crimes of Violence)

                44.    On or about July 14,2020, within the Eastern District ofNew York and

 elsewhere, the defendants DARRJUS SUTTON,also known as "Darius Sutton" and "Blizz

  Meecho," and TYSHAWN SUMPTER,also known as"GT" and "Bamalife GT," together

  with others, did knowingly and intentionally use and carry one or more firearms during and

 in relation to one or more crimes of violence, to wit: the crimes charged in Counts Twenty-

 Two and Twenty-Three, and did knowingly and intentionally possess such firearm in

 furtherance of said crimes of violence, which firearm was brandished and discharged.

                (Title 18, United States Code, Sections 924(c)(l)(A)(i), 924(c)(l)(A)(ii),

 924(c)(l)(A)(iii),2 and 3551 ^^.)
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                                     COUNT TWENTY-FIVE
                                (Counterfeit Access Device Fraud)

                  45.    On or about and between September 16,2020 and March 9, 2021, both

 dates being approximate and inclusive, within the Eastern District ofNew York and

 elsewhere, the defendant TYSHAWN SUMPTER,also known as"GT" and "Bamalife GT,"

 together with others, did knowingly and with intent to defraud produce, use and traffic in a

 counterfeit access device, to wit: a counterfeit Key Bank debit card, in a manner affecting

 interstate and foreign commerce.

                  (Title 18, United States Code, Sections 1029(a)(1), 1029(c)(l)(A)(i),2 and

 3551 et seq.)

                                      COUNT TWENTY-SIX
                               (Unauthorized Access Device Fraud)

                  46.    On or about and between September 16,2020 and March 9,2021, both

  dates being approximate and inclusive, within the Eastern District ofNew York and

  elsewhere, the defendant TYSHAWN SUMPTER,also known as"GT" and "Bamalife GT,"

 together with others, did knowingly and with intent to defraud traffic in and use one or more

  unauthorized access devices,to wit: a social security number belonging to John Doe 5, an

  individual whose identity is known to the Grand Jury, and a Key Bank debit card, and by

  such conduct did obtain one or more things of value aggregating $1,000 or more during a

  one-year period, in a manner affecting interstate and foreign commerce.

                  (Title 18, United States Code, Sections 1029(a)(2), 1029(c)(l)(A)(i),2 and

  3551 et seq.)
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                                   COUNT TWENTY-SEVEN
                                   (Aggravated Identity Theft)

                47.    On or about and between September 16,2020 and March 9,2021, both

 dates being approximate and inclusive, within the Eastern District of New York and

 elsewhere, the defendant TYSHAWN SUMPTER,also known as"GT" and "Bamalife GT,"

 together with others, during and in relation to the crimes charged in Counts Twenty-Five and
 Twenty-Six, did knowingly and intentionally transfer, possess and use, without lawful

 authority, a means of identification of another person, to wit: a social security number

 belonging to John Doe 5, knowing that the means of identification belonged to another

  person.


                (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(4),

 2 and 3551 et seq.)

                                   COUNT TWENTY-EIGHT
                        (Attempted Unauthorized Access Device Fraud)

                48.    In or about November 2020, within the Eastern District ofNew York

  and elsewhere, the defendant COREY WILLIAMS,also known as "Moncler Mellz,"

 "Moncler" and "Mellz," together with others, did knowingly and with intent to defraud

  attempt to effect transactions with one or more access devices, to wit: PayPal account

  numbers, issued to one or more other persons, to receive payments and other things of value

  during a one-year period, the aggregate value of which exceeded $1,000,in a manner

  affecting interstate commerce.

                (Title 18, United States Code, Sections 1029(a)(5), 1029(b)(1),

  1029(c)(l)(A)(ii), 1029(c)(1)(C), 2 and 3551 ^s^.)
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                                   COUNT TWENTY-NINE
                                  (Aggravated Identity Theft)

                49.    In or about November 2020, within the Eastern District of New York

 and elsewhere, the defendant COREY WILLIAMS,also known as "Moncler Mellz,"

 "Moncler" and "Mellz," together with others, during and in relation to the offense charged in

 Count Twenty-Eight, did knowingly and intentionally transfer, possess and use, without

 lawful authority, one or more means of identification of Jane Doe 3, an individual whose

 identity is known to the Grand Jury, knowing that the means of identification belonged to

 another person.

                (Title 18, United States Code, Sections 1028A(a)(l), 1028A(b), 1028A(c)(5),

 2 and 3551 et seq.I

                                        COUNT THIRTY
                               (Fraudulent Use of Identification)

                50.     In or about January 2021, within the Eastern District of New York and

 elsewhere, the defendant COREY WILLIAMS,also known as "Moncler Mellz,""Moncler"

 and "Mellz," together with others, did knowingly and intentionally transfer, possess and use,

  without lawful authority and in and affecting interstate and foreign commerce,one or more

  means of identification of another person, with the intent to commit,and aid and abet, and in

  connection with, unlawful activity that constituted one or more violations of Federal law,to

  wit: wire fraud, in violation of Title 18, United States Code, Section 1343.

                 (Title 18, United States Code, Sections 1028(a)(7), 1028(b)(2)(B),

  1028(c)(3)(A), 2 and 3551 et sea.)
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                                     COUNT THIRTY-ONE
                  (Attempted Murder in the Vicinity of 1093 Putnam Avenue)

                51.     The allegations contained in paragraphs one through six are realleged

 and incorporated as if fully set forth in this paragraph.

                52.     On or about February 6,2021, within the Eastern District ofNew York

 and elsewhere,the defendant TYSHAWN SUMPTER,also known as"GT" and "Bamalife

  GT," together with others, for the purpose of maintaining and increasing position in
  Bamalife, an enterprise engaged in racketeering activity, did knowingly and intentionally

  attempt to murder one or more individuals in the vicinity of 1093 Putnam Avenue in
  Brooklyn, New York,in violation of New York Penal Law Sections 125.25(1), 110.00 and
  20.00.


                (Title 18, United States Code, Sections 1959(a)(5),2 and 3551 ^s^.)

                                     COUNT THIRTY-TWO
    (Attempted Assault in the Vicinity of 1093 Putnam Avenue with a Dangerous Weapon)
                 53.    The allegations contained in paragraphs one through six are realleged

  and incorporated as if fully set forth in this paragraph.

                 54.    On or about February 6,2021, within the Eastern District ofNew York

  and elsewhere,the defendant TYSHAWN SUMPTER,also known as"GT" and "Bamalife

  GT," together with others, for the purpose of maintaining and increasing position in
  Bamalife, an enterprise engaged in racketeering activity, did knowingly and intentionally

  attempt to assault with a dangerous weapon one or more individuals in the vicinity of 1093
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 Putnam Avenue in Brooklyn, New York, in violation ofNew York Penal Law Sections

 120.05(2) and 20.00.

               (Title 18, United States Code, Sections 1959(a)(6),2 and 3551 ^^.)
                                  COUNT THIRTY-THREE
       (Possessing, Brandishing and Discharging a Firearm During Crimes of Violence)

               55.      On or about February 6,2021, within the Eastern District ofNew York

 and elsewhere, the defendant TYSHAWN SUMPTER,also known as"GT" and "Bamalife

 GT," together with others, did knowingly and intentionally use and carry a firearm during
 and in relation to one or more crimes of violence, to wit: the crimes charged in Counts

 Thirty-One and Thirty-Two, and did knowingly and intentionally possess such firearm in
 furtherance of said crimes of violence, which firearm was brandished and discharged.

               (Title 18, United States Code, Sections 924(c)(l)(A)(i), 924(c)(l)(A)(ii),

 924(c)(l)(A)(iii), 2 and 3551 et seq.)

                                   COUNT THIRTY-FOUR
                             (Felon in Possession of Ammunition)

               56.      On or about February 6,2021, within the Eastern District ofNew York

 and elsewhere,the defendant TYSELAWN SUMPTER,also known as"GT" and "Bamalife

  GT," knowing that he had previously been convicted in a court of one or more crimes

  punishable by a term ofimprisonment exceeding one year, did knowingly and intentionally
  possess in and affecting commerce ammunition,to wit: four .40 S&W caliber Winchester

  cartridges and one .40 caliber S&W caliber Federal Ammunition cartridge.

               (Title 18, United States Code, Sections 922(g)(1), 924(a)(2) and 3551 ^^.)
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                                     COUNT THIRTY-FIVE
                 (Conspiracy to Murder in the Vicinity of927 Dekalb Avenue)

                57.     The allegations contained in paragraphs one through six are realleged

 and incorporated as if fully set forth in this paragraph.

                58.     In or about August 2021, within the Eastern District of New York and

 elsewhere, the defendant ANDREW SIMPSON,also known as "Drew" and "Drewski,"

 together with others,for the purpose of maintaining and increasing position in Bamalife, an
 enterprise engaged in racketeering activity, did knowingly and intentionally conspire to

  murder one or more individuals in the vicinity of927 Dekalb Avenue in Brooklyn, New

  York, in violation ofNew York Penal Law Sections 125.25(1) and 105.15.

                (Title 18, United States Code, Sections 1959(a)(5) and 3551 ^^.)

                                      COUNT THIRTY-SIX
                   (Attempted Murder in the Vicinity of927 Dekalb Avenue)

                 59.    The allegations contained in paragraphs one through six are realleged

  and incorporated as if fully set forth in this paragraph.

                 60.    On or about August 16, 2021, within the Eastern District of New York

  and elsewhere, the defendant ANDREW SIMPSON,also known as"Drew" and "Drewski,"

  together with others,for the purpose of maintaining and increasing position in Bamalife, an
  enterprise engaged in racketeering activity, did knowingly and intentionally attempt to

  murder one or more individuals in the vicinity of927 Dekalb Avenue in Brooklyn, New

  York, in violation of New York Penal Law Sections 125.25(1), 110.00 and 20.00.

                (Title 18, United States Code, Sections 1959(a)(5), 2 and 3551 M^-)
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                                   COUNT THIRTY-SEVEN
          (Assault with a Dangerous Weapon in the Vicinity of927 Dekalb Avenue)

                61.    The allegations contained in paragraphs one through six are realleged

 and incorporated as if fully set forth in this paragraph.

                62.    On or about August 16, 2021, within the Eastern District of New York

 and elsewhere, the defendant ANDREW SIMPSON,also known as "Drew" and "Drewski,"

 together with others,for the purpose of maintaining and increasing position in Bamalife, an
 enterprise engaged in racketeering activity, did knowingly and intentionally assault with a

 dangerous weapon one or more individuals in the vicinity of 927 Dekalb Avenue in

 Brooklyn, New York, in violation of New York Penal Law Sections 120.05(2) and 20.00.

                (Title 18, United States Code, Sections 1959(a)(3),2 and 3551 ^^.)

                                    COUNT THIRTY-EIGHT
       (Possessing, Brandishing and Discharging a Firearm During Crimes of Violence)

                63.    On or about August 16, 2021, within the Eastern District of New York

 and elsewhere, the defendant ANDREW SIMPSON,also known as"Drew" and "Drewski,"

 together with others, did knowingly and intentionally use and carry a firearm during and in
  relation to one or more crimes of violence, to wit: the crimes charged in Counts Thirty-Six

  and Thirty-Seven, and did knowingly and intentionally possess such firearm in furtherance of
  said crimes of violence, which firearm was brandished and discharged.

                (Title 18, United States Code, Sections 924(c)(l)(A)(i), 924(c)(l)(A)(ii),

  924(c)(l)(A)(iii), 2 and 3551 ^^.)
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                                    COUNT THIRTY-NINE
                               (Felon in Possession of a Firearm)

                64.    On or about April 26,2022, within the District of New Jersey, the

 defendant ANDREW SIMPSON,also known as "Drew" and "Drewski," knowing that he

 had previously been convicted in a court ofone or more crimes punishable by a term of
 imprisonment exceeding one year, did knowingly and intentionally possess in and affecting
 commerce a firearm, to wit: a Glock model 22.40 caliber pistol bearing serial number

 VMA788.

                (Title 18, United States Code, Sections 922(g)(1), 924(a)(2) and 3551 ^^.)
                          CRIMINAL FORFEITURE ALLEGATION
                                      AS TO COUNT ONE

                65.    The United States hereby gives notice to the defendants charged in

  Count One that, upon their conviction ofsuch offense, the government will seek forfeiture in
  accordance with Title 18, United States Code, Section 1963(a), which requires any person

  convicted ofsuch offense to forfeit:(a)any interest the person acquired or maintained in

  violation of Title 18, United States Code, Section 1962;(b)any interest in, security of, claim

  against, or property or contractual right of any kind affording a source ofinfluence over, any
  enterprise which the person has established, operated, controlled, conducted or participated
  in the conduct of, in violation of Title 18, United States Code, Section 1962; and (c)any

  property constituting, or derived from,any proceeds which the person obtained, directly or
  indirectly,from racketeering activity in violation of Title 18, United States Code, Section
  1962.
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                66.    If any ofthe above-described forfeitabie property, as a result of any act

 or omission ofthe defendants:

                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction ofthe court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be

 divided without difficulty;

 it is the intent ofthe United States, pursuant to Title 18, United States Code, Section

  1963(m),to seek forfeiture of any other property ofthe defendants up to the value ofthe
 forfeitabie property described in this forfeiture allegation.

                (Title 18, United States Code, Sections 1963(a) and 1963(m))

                          CRIMINAL FORFEITURE ALLEGATION
                                AS TO COUNTS FIVE AND SIX

                67.    The United States hereby gives notice to the defendant charged in

  Counts Five and Six that, upon his conviction of either such offense, the government will

  seek forfeiture in accordance with Title 21, United States Code, Section 853(a), which

  requires any person convicted of such offenses to forfeit:(a) any property constituting, or
  derived from, any proceeds obtained directly or indirectly as the result of such offenses; and

 (b)any property used, or intended to be used, in any manner or part, to commit,or to
  facilitate the commission of, such offenses.
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                68.     If any ofthe above-described forfeitable property, as a result of any act

 or omission of the defendant:

                       (a)      cannot be located upon the exercise of due diligence;

                       (b)      has been transferred or sold to, or deposited with, a third party;

                       (c)      has been placed beyond the jurisdiction ofthe court;

                       (d)      has been substantially diminished in value; or

                        (e)     has been commingled with other property which cannot be

 divided without difficulty;

 it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p),

 to seek forfeiture of any other property ofthe defendant up to the value of the forfeitable

  property described in this forfeiture allegation.

                (Title 21, United States Code, Sections 853(a) and 853(p))

                              CRIMINAL FORFEITURE ALLEGATION
      AS TO COUNTS SEVEN,THIRTEEN THROUGH TWENTY-FOUR,THIRTY-ONE
         THROUGH THIRTY-FOUR AND THIRTY-SIX THROUGH THIRTY-NINE

                 69.    The United States hereby gives notice to the defendants charged in

  Counts Seven, Thirteen through Twenty-Four, Thirty-One through Thirty-Four and Thirty-

  Six through Thirty-Nine that, upon their conviction of any such offenses, the government

  will seek forfeiture in accordance with Title 18, United States Code, Section 924(d)(1) and

  Title 28, United States Code, Section 2461(c), which require the forfeiture of any firearm or

  ammunition involved in or used in any knowing violation of Title 18, United States Code,

  Section 922 or Section 924, or any violation of any other criminal law ofthe United States.
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                70.     If any of the above-described forfeitable property, as a result of any act

 or omission ofthe defendants:

                       (a)      cannot be located upon the exercise of due diligence;

                       (b)      has been transferred or sold to, or deposited with, a third party;

                       (c)      has been placed beyond the jurisdiction ofthe court;

                       (d)      has been substantially diminished in value; or

                       (e)      has been commingled with other property which cannot be

  divided without difficulty;

  it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

 to seek forfeiture of any other property ofthe defendants up to the value ofthe forfeitable

  property described in this forfeiture allegation.

                (Title 18, United States Code, Section 924(d)(1); Title 21, United States Code,

  Section 853(p); Title 28, United States Code, Section 2461(c))

                          CRIMINAL FORFEITURE ALLEGATION
                         AS TO COUNTS EIGHT. TEN AND TWELVE


                 71.   The United States hereby gives notice to the defendants charged in

  Counts Eight, Ten and Twelve that, upon their conviction of any such offenses, the

  government will seek forfeiture in accordance with Title 18, United States Code, Section
  982(a)(2), which requires any person convicted ofsuch offenses to forfeit any property

  constituting, or derived from, proceeds obtained directly or indirectly as a result of such

  offenses.
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                72. If any ofthe above-described forfeitable property, as a result of any act

 or omission of the defendants:

                          (a)   cannot be located upon the exercise of due diligence;

                          (b)   has been transferred or sold to, or deposited with, a third party;

                          (c)   has been placed beyond the jurisdiction of the court;

                          (d)   has been substantially diminished in value; or

                          (e)   has been commingled with other property which cannot be

 divided without difficulty;

 it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p),

 as incorporated by Title 18, United States Code, Sections 982(b)(1), to seek forfeiture of any

 other property ofthe defendants up to the value ofthe forfeitable property described in this

 forfeiture allegation.

                (Title 18, United States Code, Sections 982(a)(2) and 982(b)(1); Title 21,

  United States Code, Section 853(p))

                     CRIMINAL FORFEITURE ALLEGATION
          AS TO COUNTS TWENTY-FIVE.TWENTY-SIX AND TWENTY-EIGHT

                73.       The United States hereby gives notice to the defendants charged in

  Counts Twenty-Five, Twenty-Six and Twenty-Eight that, upon their conviction of any such

  offenses, the government will seek forfeiture in accordance with:(a) Title 18, United States

  Code, Section 982(a)(2)(B), which requires any person convicted ofsuch offenses to forfeit

  any property constituting, or derived from, proceeds obtained directly or indirectly as a result
  of such offenses; and (b)Title 18, United States Code, Section 1029(c)(1)(C), which requires
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 any person convicted of such offenses to forfeit any personal property used or intended to be
 used to commit such offenses.

                74.     If any ofthe above-described forfeitable property, as a result of any act

 or omission ofthe defendants:

                        (a)     cannot be located upon the exercise of due diligence;

                        (b)     has been transferred or sold to, or deposited with, a third party;

                        (c)     has been placed beyond the jurisdiction of the court;

                        (d)     has been substantially diminished in value; or

                        (e)     has been commingled with other property which cannot be

  divided without difficulty;

  it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p),

  as incorporated by Title 18, United States Code, Sections 982(b)(1) and 1029(c)(2), to seek
 forfeiture of any other property ofthe defendants up to the value ofthe forfeitable property

  described in this forfeiture allegation.

                (Title 18, United States Code, Sections 982(a)(2)(B), 982(b)(1), 1029(c)(1)(C)

  and 1029(c)(2); Title 21, United States Code, Section 853(p))



                                                                    A TRUE BILL




                                                                   reREPERSON




         BREON PEACE
         UNITED STATES ATTORNEY
         EASTERN DISTRICT OF NEW YORK
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F.fl; 2020R0304

FORM DBD-34            No.
JUN.85


                              UNITED STATES DISTRICT COURT

                                            EASTERN District of NEW YORK

                                                    CRIMINAL DIVISION


                                    THE UNITED STATES OF AMERICA
                                                              VS.




                                                    DARRIUSSUTTON, et al..

                                                                                    Defendants.
                                     SUPERSEDING INDICTMENT

                       (T. 18, U.S.C.,§§ 922(g)(1), 924(a)(2), 924(c)(l)(A)(i), 924(c)(l)(A)(ii),
                      924(c)(l)(A)(iii), 924(d)(1), 982(a)(2), 982(a)(2)(B), 982(b)(1), 1028(a)(7),
                   1028(b)(2)(B), 1028(c)(3)(A), 1028A(a)(l), 1028A(b), 1028A(c)(4), 1028A(c)(5),
                  1029(a)(1), 1029(a)(2), 1029(a)(5), 1029(b)(1), 1029(c)(l)(A)(i), 1029(c)(l)(A)(ii),
                     1029(c)(1)(C), 1029(c)(2), 1349, 1959(a)(3), 1959(a)(5), 1959(a)(6), 1962(d),
                      1963, 1963(a)and 1963(m),2 and 3551 ^s^.;T. 21, U.S.C., §§ 841(a)(1),
                    841(b)(n(C), 841(b)(1)(D), 846, 853(a)and 853(p); T. 28, U.S.C., § 2461(c))

                             ""'1                                                      Foreperson
                       Filed in open court this                     day,
                       of                         A.D.20
                                                                                            C/7ri

                       Bail, S

                        Kevin Trowel& NickAxelrod, Assistant US.Attorneys(718)254-7000
